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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                               )
UNITED STATES OF AMERICA                       )       Case No. 21-CR-109(TJK)
                                               )
                  v.                           )
                                               )
             TAM PHAM                          )
                                               )
                                               )

   GOVERNMENT’S CONSENT MOTION TO CONTINUE STATUS HEARING

        The United States Of America, through undersigned counsel, respectfully moves the

Court to continue the status hearing currently scheduled for Monday, April 26, 2021 to

Tuesday, June 8, 2021, Wednesday, June 9, 2021, or Thursday, June 10, 2021 and to exclude

the intervening time under the Speedy Trial Act. In support of the Motion, undersigned states:

        1.      Mr. Pham is before the Court charged in a criminal information with four

misdemeanor offenses: Entering and Remaining in a Restricted Building, in violation of Title

18, United States Code, Section 1752(a)(1); Disorderly and Disruptive Conduct in a Restricted

Building, in violation of Title 18, United States Code, Section 1752(a)(2); Violent Entry and

Disorderly Conduct in a Capitol Building , in violation of Title 40, United States Code, Section

5104(e)(2)(D); and Parading, Demonstrating, or Picketing in a Capitol Building, in violation of

Title 40, United States Code, Section 5104(e)(2)(G).

        2.      The Defendant remains on release with conditions.

       3.       The government is continuing to provide discovery and the parties are

continuing negotiations in an attempt to resolve this case short of trial.
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             4. The parties believe that the requested continuance will allow for

production and review of significant discovery and facilitate resolution of this case short of trial.

Therefore, the parties believe exclusion of this time would be appropriate under the

Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(7) as the exclusion would serve the ends

of justice and outweigh the interest of the public and of Mr. Pham in a Speedy Trial.


                                                     Respectfully submitted,


                                                      CHANNING D. PHILLIPS
                                                      ACTING UNITED STATES ATTORNEY



                                             By: /s/______________________
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